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     Attorneys for Plaintiff
   6 JAMES SHAYLER
   7
                               UNITED STATES DISTRICT COURT
   8
   9                      CENTRAL DISTRICT OF CALIFORNIA

  10
  11 JAMES SHAYLER, an individual,            Case No.: 2:21-cv-02561-MCS-PVC

  12        Plaintiff,                        Hon. Mark C. Scarsi
  13
       v.                                     NOTICE OF SETTLEMENT AND
  14                                          REQUEST TO VACATE ALL
  15 LA CANADA REAL ESTATE,                   CURRENTLY SET DATES
     INC., a California corporation; and
  16 DOES 1-10, inclusive,                    Complaint Filed: March 24, 2021
  17                                          Trial Date: None Set
         Defendants.
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                                    NOTICE OF SETTLEMENT
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   1        The Plaintiff hereby notifies the Court that a global settlement has been
   2 reached in the above-captioned case and the Parties would like to avoid any
   3 additional expense, and to further the interests of judicial economy.
   4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
   5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
   6 parties, will be filed within 45 days.
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   8
   9 Dated: May 24, 2021                            MANNING LAW, APC
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  11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                    Joseph R. Manning, Jr., Esq.
  12                                                Attorneys for Plaintiff
  13                                                James Shayler

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